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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION



 EDWARD SCOTT and DEBBIE RICHARDS
 on behalf of themselves and all others similarly
 situated,

                Plaintiffs,                                CIVIL ACTION NO.: 5:18-cv-6

        v.

 PAUL D. SHARMA,

                Defendant.


                                           ORDER

       This matter is before the Court on the Parties”) Joint Motion for Approval of Settlement.

(Doc. 35). For the reasons and in the manner which follow, the Court GRANTS the Parties’

Motion and DISMISSES this matter WITHOUT PREJUDICE.

                                        BACKGROUND

       Plaintiffs filed suit against Defendants pursuant to Section 216(b) of the Fair Labor

Standards Act of 1938, 29 U.S.C. § 201 et seq. (“the FLSA”), alleging Defendants deprived

Plaintiffs of their lawful regular and overtime wages. (Doc. 1 at 1–2). Defendants generally

denied Plaintiffs’ claims. (Doc. 10). The Court issued a Scheduling Order on April 16, 2018,

(doc. 14), and the parties consented to the Magistrate Judge’s jurisdiction the following day,

(docs. 16, 17). After exchanging discovery, the Parties agreed to participate in a Court-assisted

settlement conference. (Doc. 26). As a result of the settlement conference, the parties were able
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to agree in principle to terms of settlement. The Court now addresses the Parties’ post-settlement

Motions.

                                          DISCUSSION

       The Parties reached a settlement in this case as a result of their participation in Court-

assisted mediation. (Docs. 29, 31). The Parties seek the Court’s approval of their settlement and

the dismissal of this cause of action.

       The FLSA was enacted with the purpose of protecting workers from oppressive working

hours and substandard wages. Barrentine v. Arkansas-Best Freight Sys., 450 U.S. 728, 739

(1981). Because employees and employers often experience great inequalities of bargaining

power, Congress made the FLSA’s wage-and-hour limitations mandatory. Brooklyn Sav. Bank

v. O’Neil, 324 U.S. 697, 706 (1945). Making the provisions mandatory meant eliminating the

ability of workers and employers to negotiate an employment arrangement that falls short of the

FLSA’s minimum employee protections. Id.

       The United States Court of Appeals for the Eleventh Circuit has explained that an FLSA

claim can be settled and resolved in two ways. First, an employee may settle and waive claims

under the FLSA if the payment of unpaid wages by the employer to the employee is supervised

by the Secretary of Labor. 29 U.S.C. § 216(c); Lynn’s Food Stores, Inc., 679 F.2d 1350, 1353

(11th Cir. 1982). Second, an employee may settle and waive claims under the FLSA if the

parties present to a district court a proposed settlement agreement, and the district court enters a

judgment approving the settlement. Id. The Parties seek Court approval of their settlement

agreement via the second option.

       To approve the settlement, the district court must scrutinize the settlement agreement and

determine whether it is a “fair and reasonable resolution of a bona fide dispute” of the FLSA




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issues. Id. at 1354–55. If the settlement reflects a reasonable compromise over issues that are

actually in dispute, the Court may approve the settlement “in order to promote the policy of

encouraging settlement in litigation.” Id. at 1354. District courts are accorded discretion in

deciding whether to approve FLSA settlement agreements, and the Eleventh Circuit has declined

to curtail that discretion by imposing categorical rules regarding settlement agreement

provisions. Rodrigues v. CNP of Sanctuary, LLC., 523 F. App’x 628, 629 (11th Cir. 2013).

       Upon review of the pleadings in this case and having heard Plaintiffs’ claims and

Defendants’ defenses to those claims, the Court finds the Parties’ agreement to resolve this case

is a just, fair, and reasonable resolution of the matters of bona fide dispute. The Parties contest

many legal and factual aspects of this case, and there are bona fide disputes over FLSA

provisions, including FLSA coverage and the amount of backpay. The settlement agreement

represents a reasonable compromise of the Parties’ disputes. Thus, the Court:

       1.      GRANTS the Parties’ Joint Motion for Approval of Settlement
               Agreement;

       2.      APPROVES the form of the Settlement Agreement;

       3.      APPROVES the monetary distribution at to Plaintiffs and Plaintiffs’
               counsel and ORDERS Defendants to make payments, as set forth in the
               Settlement Agreement;

       4.      GRANTS the Parties’ Motion to Dismiss; and

       5.      DISMISSES this case WITHOUT PREJUDICE, with each party
               bearing his or her own costs and attorney’s fees, except as provided in the
               Parties’ Settlement Agreement.




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                                        CONCLUSION

       Based on the foregoing, the Court GRANTS the Parties’ Joint Motion for Approval of

Settlement Agreement and APPROVES the Parties’ Settlement Agreement. The Court

DISMISSES WITHOUT PREJUDICE this cause of action and DIRECTS the Clerk of Court

to CLOSE this case. However, the Court RETAINS jurisdiction over this case to ensure the

terms of the Settlement Agreement are fulfilled.

       SO ORDERED, this 7th day of December, 2018.




                                     ____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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